                   UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Kristin A Marks
                                           Case No.: 1-17-04749HWV

                                                           Chapter 13
                     Debtor(s)

                           NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition default in the claim below has been paid in full and the debtor(s) have
completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Patriot FCU
 Court Claim Number:             10
 Last Four of Loan Number:       9547
 Property Address if applicable: 241 Glen St

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.     Allowed prepetition arrearages:                                     $9,324.07
 b.     Prepetition arrearages paid by the trustee:                         $9,324.07
 c.     Amount of postpetition fees, expenses, and charges                  $0.00
        recoverable under Bankruptcy Rule 3002.1(c):
 d.     Amount of postpetition fees, expenses, and charges                  $0.00
        recoverable under Bankruptcy Rule 3002.1(c) and paid
        by the trustee:
 e.     Allowed postpetition arrearage:                                     $0.00
 f.     Postpetition arrearage paid by the trustee:                         $0.00
 g.     Total b, d, and f:                                                  $9,324.07

 PART 3: POSTPETITION MORTGAGE PAYMENT

  Mortgage is paid through the trustee.
  Current monthly mortgage payment:               $211.22
  The next postpetition payment is due on:        Feb 2023

PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are




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current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.

To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: February 23, 2023                               Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


    IN RE:    Kristin A Marks                                  CHAPTER 13
                               Debtor(s)
                                                               CASE NO: 1-17-04749HWV

                                 CERTIFICATE OF SERVICE


 I certify that I am more than 18 years of age and that on February 23, 2023, I served a copy of this
 Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
 unless served electronically.

   Served Electronically
   Hannah Herman-Snyder, Esquire
   183 Lincoln Way East
   Chambersburg PA 17201

   Served by First Class Mail
   Patriot FCU
   Law Offices of Markian R Slobodian, Esquire
   801 N Second St
   Harrisburg PA 17102

   Kristin A Marks
   241 Glen St
   Chambersburg PA 17201



  I certify under penalty of perjury that the foregoing is true and correct.



  Date: February 23, 2023                               /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                             Disbursements for Claim
Case: 17-04749             KRISTIN A. MARKS
         PATRIOT FCU
                                                                                      Sequence: 07
         PO BOX 778
                                                                                         Modify:
                                                                                     Filed Date:
         CHAMBERSBURG, PA 172
                                                                                     Hold Code: P
 Acct No: 9547
         REFUND/PAID IN FULL


                                               Debt:            $8,683.07         Interest Paid:                 $0.00
        Amt Sched:                  $0.00                                           Accrued Int:                  $0.00
         Amt Due:      $211.22                  Paid:           $8,682.46          Balance Due:                   $0.61

Claim name                            Type      Date             Check #       Principal    Interest       Total Reconciled
                                                                                                 DisbDescrp
 5020        PATRIOT FCU
502-0 PATRIOT FCU                      C      02/03/2023                 0       ($0.61)      $0.00         ($0.61)
                                                                                                   Cred Rfd Chk #: 672181
502-0 PATRIOT FCU                             01/18/2023         9015586        $205.92       $0.00        $205.92 01/18/2023
                                                                                                   Payment for 12/2022
502-0 PATRIOT FCU                             01/18/2023         9015586        $211.22       $0.00        $211.22 01/18/2023
                                                                                                   Payment for 1/2023
502-0 PATRIOT FCU                             11/16/2022         9015172        $205.92       $0.00        $205.92 11/16/2022
                                                                                                   Payment for 11/2022
502-0 PATRIOT FCU                             10/18/2022         9014958        $205.92       $0.00        $205.92 10/18/2022
                                                                                                   Payment for 10/2022
502-0 PATRIOT FCU                             09/13/2022         9014746        $205.92       $0.00        $205.92 09/13/2022
                                                                                                   Payment for 9/2022
502-0 PATRIOT FCU                             08/17/2022         9014536        $205.92       $0.00        $205.92 08/18/2022
                                                                                                   Payment for 7/2022
502-0 PATRIOT FCU                             08/17/2022         9014536        $205.92       $0.00        $205.92 08/18/2022
                                                                                                   Payment for 8/2022
502-0 PATRIOT FCU                             07/13/2022         9014317        $205.92       $0.00        $205.92 07/13/2022
                                                                                                   Payment for 6/2022
502-0 PATRIOT FCU                             05/17/2022         9013898        $205.92       $0.00        $205.92 05/17/2022
                                                                                                   Payment for 5/2022
502-0 PATRIOT FCU                             04/12/2022         9013684        $205.92       $0.00        $205.92 04/12/2022
                                                                                                   Payment for 4/2022
502-0 PATRIOT FCU                             03/16/2022         9013464        $205.92       $0.00        $205.92 03/16/2022
                                                                                                   Payment for 2/2022
502-0 PATRIOT FCU                             03/16/2022         9013464        $205.92       $0.00        $205.92 03/16/2022
                                                                                                   Payment for 3/2022
502-0 PATRIOT FCU                             01/19/2022         9013018        $205.92       $0.00        $205.92 01/19/2022
                                                                                                   Payment for 1/2022


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Claim name                       Type     Date         Check #     Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
502-0 PATRIOT FCU                       01/19/2022     9013018      $205.92      $0.00     $205.92 01/19/2022
                                                                                   Payment for 12/2021
502-0 PATRIOT FCU                       12/15/2021     9012784      $205.92     $0.00      $205.92 12/15/2021
                                                                                   Payment for 11/2021
502-0 PATRIOT FCU                       11/16/2021     9012536      $205.92     $0.00      $205.92 11/16/2021
                                                                                   Payment for 10/2021
502-0 PATRIOT FCU                       10/14/2021     9012281      $205.92     $0.00      $205.92 10/14/2021
                                                                                   Payment for 8/2021
502-0 PATRIOT FCU                       10/14/2021     9012281      $205.92     $0.00      $205.92 10/14/2021
                                                                                   Payment for 9/2021
502-0 PATRIOT FCU                       09/14/2021     9012031      $205.92     $0.00      $205.92 09/14/2021
                                                                                   Payment for 7/2021
502-0 PATRIOT FCU                       08/18/2021     9011781      $205.92     $0.00      $205.92 08/18/2021
                                                                                   Payment for 6/2021
502-0 PATRIOT FCU                       05/18/2021     9010975      $205.92     $0.00      $205.92 05/19/2021
                                                                                   Payment for 5/2021
502-0 PATRIOT FCU                       04/15/2021     9010693      $205.92     $0.00      $205.92 05/13/2021
                                                                                   Payment for 4/2021
502-0 PATRIOT FCU                       03/17/2021     9010408      $205.92     $0.00      $205.92 03/17/2021
                                                                                   Payment for 2/2021
502-0 PATRIOT FCU                       03/17/2021     9010408      $205.92     $0.00      $205.92 03/17/2021
                                                                                   Payment for 3/2021
502-0 PATRIOT FCU                       01/19/2021     9009813      $205.92     $0.00      $205.92 01/20/2021
                                                                                   Payment for 1/2021
502-0 PATRIOT FCU                       12/10/2020     9009284      $199.04     $0.00      $199.04 12/10/2020
                                                                                   Payment for 11/2020
502-0 PATRIOT FCU                       12/10/2020     9009284      $199.04     $0.00      $199.04 12/10/2020
                                                                                   Payment for 12/2020
502-0 PATRIOT FCU                       10/15/2020     9008729      $199.04     $0.00      $199.04 10/15/2020
                                                                                   Payment for 10/2020
502-0 PATRIOT FCU                       09/17/2020     9008415      $199.04     $0.00      $199.04 09/17/2020
                                                                                   Payment for 9/2020
502-0 PATRIOT FCU                       08/12/2020     9008093      $199.04     $0.00      $199.04 08/12/2020
                                                                                   Payment for 8/2020
502-0 PATRIOT FCU                       07/07/2020     9007784      $199.04     $0.00      $199.04 07/07/2020
                                                                                   Payment for 7/2020
502-0 PATRIOT FCU                       06/02/2020     9007503      $215.73     $0.00      $215.73 06/02/2020
                                                                                   Payment for 5/2020
502-0 PATRIOT FCU                       06/02/2020     9007503      $215.73     $0.00      $215.73 06/02/2020
                                                                                   Payment for 6/2020

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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
502-0 PATRIOT FCU                       04/14/2020       1216595      $215.73      $0.00     $215.73 04/17/2020
                                                                                     Payment for 3/2020
502-0 PATRIOT FCU                       04/14/2020       1216595      $215.73     $0.00      $215.73 04/17/2020
                                                                                     Payment for 4/2020
502-0 PATRIOT FCU                       02/13/2020       1214002      $215.73     $0.00      $215.73 02/19/2020
                                                                                     Payment for 2/2020
502-0 PATRIOT FCU                       01/16/2020       1212650      $215.73     $0.00      $215.73 01/24/2020
                                                                                     Payment for 1/2020
502-0 PATRIOT FCU                       12/12/2019       1211286      $235.83     $0.00      $235.83 12/18/2019
                                                                                     Payment for 10/2019
502-0 PATRIOT FCU                       12/12/2019       1211286      $208.23     $0.00      $208.23 12/18/2019
                                                                                     Payment for 11/2019
502-0 PATRIOT FCU                       12/12/2019       1211286      $208.23     $0.00      $208.23 12/18/2019
                                                                                     Payment for 12/2019
502-0 PATRIOT FCU                       11/07/2019       1209920      $194.43     $0.00      $194.43 11/14/2019
                                                                                     Payment for 9/2019
502-0 PATRIOT FCU                       09/26/2019       1207645      $194.43     $0.00      $194.43 10/01/2019
                                                                                     Payment for 8/2019
                                                      Sub-totals: $8,682.46       $0.00   $8,682.46

                                                     Grand Total: $8,682.46       $0.00




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                                             Disbursements for Claim
Case: 17-04749          KRISTIN A. MARKS
         PATRIOT FEDERAL CREDIT UNION
                                                                                     Sequence: 24
         P.O. BOX 778
                                                                                        Modify:
                                                                                    Filed Date: 4/10/2018 12:00:00AM
         CHAMBERSBURG, PA 172
                                                                                    Hold Code:
 Acct No: 9547/PRE ARREARS/241 GLEN ST



                                               Debt:               $641.61       Interest Paid:              $0.00
        Amt Sched:              $18,000.00                                         Accrued Int:               $0.00
         Amt Due:       $0.00                   Paid:              $641.61        Balance Due:                $0.00

Claim name                            Type      Date             Check #      Principal    Interest       Total Reconciled
                                                                                                DisbDescrp
 5210        PATRIOT FEDERAL CREDIT UNION
521-0 PATRIOT FEDERAL CREDIT UNION            01/18/2023         9015587       $191.76       $0.00     $191.76 01/18/2023


521-0 PATRIOT FEDERAL CREDIT UNION            11/16/2022         9015173       $137.58       $0.00     $137.58 11/16/2022


521-0 PATRIOT FEDERAL CREDIT UNION            09/13/2022         9014747        $74.46       $0.00      $74.46 09/13/2022


521-0 PATRIOT FEDERAL CREDIT UNION            08/17/2022         9014537        $25.79       $0.00      $25.79 08/18/2022


521-0 PATRIOT FEDERAL CREDIT UNION            05/17/2022         9013899        $76.52       $0.00      $76.52 05/17/2022


521-0 PATRIOT FEDERAL CREDIT UNION            04/12/2022         9013685        $32.75       $0.00      $32.75 04/12/2022


521-0 PATRIOT FEDERAL CREDIT UNION            01/19/2022         9013019        $15.60       $0.00      $15.60 01/19/2022


521-0 PATRIOT FEDERAL CREDIT UNION            05/18/2021         9010976        $25.44       $0.00      $25.44 05/19/2021


521-0 PATRIOT FEDERAL CREDIT UNION            04/15/2021         9010694        $61.71       $0.00      $61.71 05/13/2021


                                                              Sub-totals:     $641.61        $0.00    $641.61

                                                             Grand Total:     $641.61        $0.00




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